                         CASE 0:22-cr-00234-KMM-TNL Doc. 6 Filed 09/16/22 Page 1 of 1
                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA
      UNITED STATES OF AMERICA,
                                Plaintiff,
      v.                                     Criminal No. 22-CR-234 (KMM/TNL)
      JUSTICE ANTHONY VALENTINO,
                                                   FILED UNDER SEAL
                             Defendant,
                                           APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
      (X )Ad Prosequendum          ( )Ad Testificandum

Name of Detainee: JUSTICE ANTHONY VALENTINO
Detained at (custodian): HENNEPIN COUNTY JAIL

The government is requesting the Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) to transport
detainee.

Detainee is:            a.)    (X) charged in this district by: Indictment
                        Charging Detainee With: Felon in Possession of a Firearm
              or        b.)    () a witness not otherwise available by ordinary process of the Court

Detainee will: a.)                  ( ) return to the custody of detaining facility upon termination of this proceeding
       or      b.)                  (X) be retained in federal custody until final disposition of federal charges.

Appearance is necessary on September 19, 2022 at 1:30 p.m. in the courtroom of The Honorable David T.
Schultz.

Dated: September 16, 2022                                                                       s/ Jordan L. Sing
                                                                                                JORDAN L. SING, AUSA

                                                              WRIT OF HABEAS CORPUS

              (X )Ad Prosequendum                                       ( )Ad Testificandum

The above application is granted and the above-named custodian, as well as the United States marshal for this
district, is hereby ORDERED to produce the named detainee, on the date and time recited above, and any
further proceedings to be had in this case, and at the conclusion of said proceedings to return said detainee to
the above-named custodian.
 September 16, 2022
____________________________________                                                         ______________________________________
Date UNITED STATES MAGISTRATE JUDGE
Please provide the following, if known:
      A.K.A.(s) (if applicable):                                                                       Gender:           Male
      Booking or Fed. Reg.#:                                                                           DOB:              xx/xx/1994
      Facility Address:                    350 South Fifth Street                                      Race:
                                           Minneapolis, MN 55415                                       FBI #:
      Facility Phone:                      612-348-5112
      Currently Incarcerated For:
                                                                             RETURN OF SERVICE
Executed on ______________________________________ by __________________________________________ ________________________________________________________________________

(Signature)




                                                                                                                                                   Writ issued 9/16/2022
